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                                         January 3, 2020

                                           Via CM/ECF

 Honorable Gene E. K. Pratter                     Honorable Joel H. Slomsky
 U.S. District Court Judge                        U.S. District Court Judge
 U.S. District Court for the                      U.S. District Court for the
  Eastern District of Pennsylvania                 Eastern District of Pennsylvania
 James A. Byrne U.S. Courthouse                   James A. Byrne U.S. Courthouse
 601 Market Street                                601 Market Street
 Room 10613, Courtroom 10-B                       Room 13614
 Philadelphia, PA 19106                           Philadelphia, PA 19106
 Honorable Nitza I. Quiñones Alejandro            Honorable C. Darnell Jones II
 U.S. District Court Judge                        U.S. District Court Judge
 U.S. District Court for the                      U.S. District Court for the
  Eastern District of Pennsylvania                 Eastern District of Pennsylvania
 James A. Byrne U.S. Courthouse                   James A. Byrne U.S. Courthouse
 601 Market Street                                601 Market Street
 Room 8613, Courtroom 8-B                         Room 15613, Courtroom 15-B
 Philadelphia, PA 19106                           Philadelphia, PA 19106
 Honorable Wendy Beetlestone
 U.S. District Court Judge
 U.S. District Court for the
  Eastern District of Pennsylvania
 James A. Byrne U.S. Courthouse
 601 Market Street
 Room 10614, Courtroom 10-A
 Philadelphia, PA 19106

       Re: Wawa, Inc. Data Breach Litigation

Dear Judges Pratter, Slomsky, Quiñones Alejandro, Jones, and Beetlestone:

        I represent Alexis Mullen, Laura Angelo and Jeffrey Baumann, plaintiffs in Mullen v.
Wawa, Inc., No. 2:19-cv-06076-JHS (E.D. Pa.). That action and several others are the subject of
certain other plaintiffs’ Motion to Consolidate Pursuant to Fed. R. Civ. P. 42(a) and for
Appointment of Interim Co-Lead Class Counsel, which was docketed late yesterday.
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                                                                        Honorable Gene E. K. Pratter
                                                                          Honorable Joel H. Slomsky
                                                                Honorable Nitza I. Quiñones Alejandro
                                                                        Honorable C. Darnell Jones II
                                                                       Honorable Wendy Beetlestone
                                                                                               Page 2

        Counsel for plaintiffs in most of those cases conferred by telephone earlier this week.1
During that call, I impressed upon other plaintiffs’ counsel that Local Rule 40.1(c)(2) provides for a
procedure by which the Court assigns related cases to a single judge. I also reported having spoken
to the Clerk’s office, which was aware that these related cases were assigned to different judges. I
recommended that all plaintiffs’ counsel allow the Court to proceed pursuant to Rule 40.1(c)(2) and
schedule further proceedings, rather than acting prematurely and contrary to the preferences of
whoever is assigned the case. No other counsel indicated any intention to the contrary, and none did
so prior to yesterday. I continue to believe that the course I detailed on that call is the most prudent
one.
        That is why I was surprised to receive the above-referenced Motion. The firms that filed it
collectively represent only five of the many plaintiffs in the related cases.2 None of the remaining
plaintiffs were previously informed of the Motion, much less consented to it. I therefore respectfully
request that the Court deny the pending Motion, without prejudice to its being re-filed on a schedule
consistent with the order of the judge to whom these cases are assigned. I anticipate moving to be
named interim lead counsel at that time.


                                                               Respectfully submitted,




                                                               Linda P. Nussbaum




1
 No one from Berger & Montague, P.C., which seeks an interim lead counsel position, was on that
call.
2
    My firm anticipates filing today a new complaint on behalf of three additional plaintiffs.

                                                     2
